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                              UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

 LAURA WONDERCHECK,                                   §
 Plaintiff,                                           §
                                                      §
 v.                                                   §    CIVIL ACTION NO. 1:19-CV-00640-LY
                                                      §
 MAXIM HEALTHCARE SERVICES, INC.,                     §
 Defendant.                                           §

                              JOINT CONFERENCE AND
                      ALTERNATIVE DISPUTE RESOLUTION REPORT

         Counsel for the parties to this action conferred on September 19, 2019, in accordance with

Federal Rule of Civil Procedure 26(f). The parties now submit the following Joint Conference

Report and Alternative Dispute Resolution Report.

      1. Rule 26(f) Conference: The Parties met in a teleconference on September 19, 2019 to

         discuss all matters pertaining to Fed. R. Civ. P. 26(f). In the conference, Plaintiff was

         represented by Austin Kaplan and Defendant was represented by Lindsay Hedrick.

      2. Nature and Basis of Claims and Defenses: Plaintiff has brought this suit alleging two causes

         of action: (1) violations of the False Claims Act, 31 U.S.C. § 3730(h); and (2) violations

         of the National Defense Authorization Act, 41 U.S.C. § 4712. Defendant denies that

         Plaintiff is entitled to any of the relief she seeks.

      3. Possibility of Prompt Settlement: The Parties agree to discuss potential resolution after

         they exchange additional information, including initial disclosures and discovery.

      4. Proposed Scheduling Order: The Parties conferred and agreed upon a Proposed Scheduling

         Order which shall be filed under separate cover on the form designated by this Court.

      5. Rule 26(f) Discovery Plan: The Parties conferred and agreed upon all Federal Rule 26(f)

         matters and their collective positions are as follows:



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         a.   26(f)(3)(A): No Party requested changes in the form or requirement for disclosures

              under Rule 26(a)(1). The Parties agreed that the Rule 26(a)(1) disclosures will be

              made by October 3, 2019.

         b. 26(f)(3)(B): The Parties discussed the scope of discovery to include all matters

              arising out of the allegations made by Plaintiff in her Complaint and all damages

              and defenses. No Party requested that the discovery shall be conducted in phases

              or limited to particular issues.

         c. 26(f)(3)(C): The Parties agree to produce currently known electronic information

              in PDF format, and to confer regarding production of other electronic information

              if the volume is such that PDF production is impractical, if and when such

              information is identified. Additionally, the Parties agree that native-format

              production may be necessary for certain files, and further agree to produce native-

              format files pursuant to separate agreement upon specific request and sufficient

              showing from the other Party.

         d. 26(f)(3)(D): The Parties agree to confer regarding protection of Defendant’s trade

              secret and/or confidential information. The Parties did not have any issues related

              to privilege or protection of confidential information that need to be addressed at

              this time.

         e. 26(f)(3)(E): No Party requests changes to the limitations on discovery established

              by the Local Rules or the Federal Rules.

  6. 26(f)(3)(F): At this time, no Party has requested other orders pursuant to Alternative

     Dispute Resolution. Pursuant to Local Rule CV-88, the parties report that settlement or

     resolution discussions shall commence during discovery. Counsel for each party are

     responsible for negotiations. Should the action proceed through discovery, the parties

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       agree that mediation would be appropriate.



Respectfully submitted,




______________________                               _/s/ Lindsey Hedrick___________
Austin Kaplan                                        Lindsay A. Hedrick
State Bar No. 24072176                               State Bar No. 24067655
akaplan@kaplanlawatx.com                             lahedrick@jonesday.com
KAPLAN LAW FIRM, PLLC                                Jones Day
406 Sterzing St.                                     2727 North Harwood Street
Austin, Texas 78704                                  Dallas, Texas 75201
PH: 512.553.9390                                     PH: 214.220.3939
FX: 512.692.2788                                     FX: 214.969.5100



ATTORNEY FOR PLAINTIFF                               ATTORNEY FOR DEFENDANT


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